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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TERRI D. WRIGHT,

                   Plaintiff,

       v.                                               Case No. 1:20-cv-02471-KBJ

EUGENE & AGNES E. MEYER
FOUNDATION, et al.,

                   Defendants.


   DEFENDANTS EUGENE & AGNES E. MEYER AND NICOLA GOREN’S REPLY
          IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS

       Pursuant to Local Civil Rule 7(d), Defendants Eugene & Agnes E. Meyer Foundation (“the

Foundation”) and Nicola Goren (“Ms. Goren”) (collectively “Defendants”), through undersigned

counsel, submit this reply in further support of their Motion to Dismiss (“the Motion”).

       I.       INTRODUCTION

       Plaintiff Terri Wright (“Plaintiff” or “Dr. Wright”) argues “Defendants attempt to dismiss

Plaintiffs (sic) well plead Complaint is without merit.” Opp’n 3, ECF No. 7. In actuality, as

demonstrated in Defendants’ Motion, Plaintiff has not satisfied the pleading requirements for her

three counts. First, even taking Plaintiff’s allegations as true (which Defendants deny) the Section

1981 claim — Plaintiff’s first cause of action — fails because it is a recast defamation claim, and

Plaintiff does not include sufficient facts to make it plausible that Defendants discriminated against

her based upon her race. Second, Ms. Goren allegedly made the substantive statements underlying

Plaintiff’s defamation claim to an individual with a common interest, and therefore a qualified

privilege protects the statements. Third, the alleged statements also were expressions of opinion

and therefore could not be defamatory.
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       Dr. Wright’s twenty-nine page Opposition fails to breathe life into her deficient Complaint.

The Opposition cites irrelevant case law such as Dickerson v. District of Columbia and Nyambal

v. Alliedbarton Security Services, Inc., in support of Plaintiff’s Section 1981 and defamation

claims. Next, it contradicts the very pleadings it attaches to defeat the common interest privilege

– the Complaint and Dr. Mayde Henson’s Amended Complaint. ECF Nos. 7-2; 7-3. Finally, it

requests this Court ignore volumes of contract law precedent in a weak attempt at saving her

Section 1981, breach of contract, and defamation claims.

II.    ARGUMENT

       A.      Plaintiff Has Conceded That She Has Not Pled Sufficiently a Claim of Race
               Discrimination Under 42 U.S.C. § 1981

               1.      Dickerson is a judicial opinion deciding a Motion to Compel with no
                       relevance to Plaintiff’s Section 1981 claim.

       In arguing she may recover defamation-type damages under her 42 U.S.C. §1981 statutory

claim, Plaintiff cites Dickerson v. District of Columbia, No. CV 09-2213 (PLF), 2019 WL

6910043, at *3 (D.D.C. Dec. 19, 2019). However, a quick glance at the Dickerson opinion reveals

it relates to a motion to compel a party to supplement his evasive interrogatory responses and

produce withheld responsive documents. The issue in that case has nothing to do with whether a

plaintiff has stated a Section 1981 claim. Id. Further, page three of that decision, does not provide

authority in support of Plaintiff’s arguments. Opp’n 17. The most cursory review of that page

reveals the court is discussing the level of detail plaintiff Dickerson was required to provide when

responding to interrogatories under the Federal Rules of Civil Procedure. See Dickerson, 2019

WL 6910043, at *3. Page three does not discuss matters that are at issue in this case. In the

Dickerson opinion, the court even omits a recitation of the causes of action because they were not

germane to the narrow discovery dispute it had to decide.




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                2.      The Opposition fails to demonstrate that Plaintiff sufficiently pled
                        that the Foundation has denied her the benefits, privileges, terms and
                        conditions of a contractual obligation because of her race under 42
                        U.S.C. §1981.

         Dr. Wright’s efforts to discredit the sound grounds for dismissal of her Section 1981 claim

miss the mark. The Opposition fails to shed light on how Plaintiff may sustain a claim that her

rights under the October 2019 severance agreement were impaired for purposes of a Section 1981

claim.    Plaintiff argues she sufficiently pled facts demonstrating she experienced racial

discrimination when Defendants allegedly breached the Mutual Non-Disparagement Clause of the

October 2019 severance agreement. To support this argument, Plaintiff reasserts the conclusory

statements she made in the Complaint with a focus on the reasons she believes she experienced

race discrimination.

         To illustrate, the Opposition contends:

   •     Specifically, Plaintiff alleged that her predecessor, a Caucasian male, Rick Moyers, was
         not disparaged by Defendant Goren after his termination . . . .
   •     She allowed him to leave the Foundation on his own terms as to not adversely affect his
         reputation.
   •     Plaintiff likewise alleged that no non-African American (sic) employee that was given a
         severance agreement containing a mutual non-disparagement clause was subsequently
         disparaged by the Defendants.
   •     This treatment was not afforded to the Plaintiff despite her stellar performance. Instead, the
         Plaintiff was abruptly terminated after being discriminatorily paper trailed by Defendant
         Goren as a pretext to mask Defendant Goren’s discriminatory animus . . . .

   Opp’n 17.

         First, the Opposition does not address Defendants’ substantive arguments challenging the

alleged contract breach that she contends impaired her rights. When a plaintiff fails to respond to

arguments in a motion to dismiss, the law permits a court to grant the motion as conceded See

FDIC v. Bender, 127 F.3d 58, 67-8 (D.C.Cir.1997) (when a plaintiff files an opposition to a motion

to dismiss addressing only certain arguments raised by the defendant, a court may treat those



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arguments that the plaintiff failed to address as conceded). This Court should treat Plaintiff’s

failure to respond to Defendants’ argument that she has not sufficiently pled a Section 1981 claim

because “Plaintiff does not allege, nor can she, that the Foundation failed to direct employees not

to make false, disparaging, or derogatory statements about Plaintiff” as conceded. Def.’s Mot. to

Dismiss 8, ECF No. 4.

       To the extent this Court is not inclined to find this basis for dismissal conceded based on

Plaintiff’s argument later in her Opposition in response to Defendants’ Motion to Dismiss Count

III (breach of contract) wherein she insists a breach occurred, Defendants have identified several

reasons that argument is meritless. Dr. Wright argues:

       Defendants’ argument that the plain meaning of “Mutual Non-Disparagement”
       really means it was a one-sided term applying only against the Plaintiff is
       unavailing. Specifically, Defendants suggest that the agreement only required
       Defendant Goren and the Foundation to “direct those officers, directors, and
       employees with direct knowledge of this revised letter agreement not to make any
       false, disparaging, or derogatory statements to any person.” Their argument follows
       that once the warnings are given, then somehow they were shielded from any claim
       that they breached the mutual non-disparagement clause. This tortured argument
       makes no sense and is contrary to the law.

Opp’n 23.

       The Mutual Non-Disparagement clause reads:

       Mutual Non-Disparagement: You agree that you have not made and will not
       make, any false, disparaging or derogatory statements to any person or entity,
       including any media outlet, industry group or financial institution, regarding the
       Foundation or any of the releases, or about the Foundation’s business affairs
       and/or financial conditions; provided, however, that nothing herein prevents you
       from making truthful disclosures to any governmental entity or in any litigation or
       arbitration. Likewise, the Foundation will direct those officers, directors and
       employees with direct knowledge of this revised letter agreement not to make
       any false, disparaging or derogatory statements to any person or entity
       regarding you.

Compl. ¶ 34 (emphasis added); Mot. to Dismiss Ex. 1 at 3. The agreement continues to

unambiguously state:


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       In connection with your separation, the Foundation provided you with a
       severance agreement on October 1, 2019 (the “initial severance agreement”)
       that set forth the severance benefits you were eligible to receive. You have
       since requested changes to the initial severance agreement and the Foundation
       has agreed to revise certain of the severance benefits it initially offered you as
       set forth herein (the “revised letter agreement”). . . .

       By timely signing and returning this revised letter agreement, you will be entering
       into a binding agreement with the Foundation and will be agreeing to the terms
       and conditions set forth in the numbered paragraphs below, including the
       release of claims set forth in paragraph 3. Therefore, you are advised to consult
       with an attorney of your own choosing before signing this revised letter agreement
       and you have been given at least seven days to do so.

Excerpts from October 2019, Severance Agreement attached as Exhibit 4.

       Plaintiff’s effort to create an ambiguity in the agreement several months after signing it is

likely rooted in cognitive dissonance that she agreed to a Non-Disparagement Clause, which

imposes perceived stricter prohibitions on her. However, Dr. Wright’s regrets do not make the

terms any less plain, and are contrary to the well-settled law of contract interpretation. See

Hershon v. Gibraltar Bldg. & Loan Ass’n, 864 F.2d 848, 853 (D.C. Cir. 1989) (stating “it is

fundamentally important that parties be able to rely on the explicit language of written contracts[,]”

which also furthers the “public interest in certainty and finality” and prevents “every agreement

[from being] subjected to collateral attack[.]”) As annunciated in Anzueto v. Wash. Metro. Area

Transit Auth., Dr. Wright had an obligation to read the agreement, and apparently, she did. 357 F.

Supp. 2d 27, 30 (D.D.C.2004)(contending “[I]t is well established that a person has a duty to read

a contract before he signs it. If [s]he had the opportunity to read it, [s]he is bound by its terms

regardless of whether [s]he thought [s]he was signing an actual contract.”)

       Construing the allegations in the Complaint as true, as required for purposes of a Rule

12(b)(6) motion, the Foundation initially presented Dr. Wright with the agreement on October 1,

2019. The agreement encouraged her to seek legal advice before accepting the terms by signing



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the document. Dr. Wright did not accept the agreement as presented, but sought certain changes.

On October 15, 2019, after the parties reached agreement on her proposed changes, Dr. Wright

voluntarily and knowingly signed the agreement. The explicit language of the agreement states

that the Foundation’s sole obligation was to inform its officers and directors not to disparage

Plaintiff. There is no allegation in the Complaint that the Foundation failed to carry out its duty

because Dr. Wright has no good faith basis for making such an assertion.

       Even if Dr. Wright had pled facts to suggest that Defendants had impaired a right under

the Severance Agreement, the allegations upon which she relies do not demonstrate that race was

the reason for the actions. Plaintiff does not allege that the Foundation entered into a severance

agreement (with a mutual non-disparagement provision) with her purported comparator, Mr.

Moyers, or that the Foundation had a policy or practice of offering severance agreements with

mutual non-disparagement agreements to all departing employees.                Further, the alleged

disparaging comments, which purportedly occurred after the agreement was effective, do not

create an inference of racial bias. Plaintiff’s conclusory allegation that purportedly similarly

situated individuals of a different race were treated differently also does not save her claim because

there are no facts from which to infer that the purported disparate treatment was racially motivated.

All that Plaintiff has is the alleged disparaging comments and the fact that she is African-American,

and that is not enough to survive this motion to dismiss. See, e.g., Mekuria v. Bank of America,

883 F.Supp.2d 10, 13-16 (D.D.C. 2011) (Section 1981 claim dismissed because “[a]t the end of

the day, Plaintiff’s case boils down to an argument that because he was mistreated and because he

is black, there must be some connection between the two.”)




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       B.       Plaintiff Has Failed to Provide the Court Grounds Not to Dismiss her
                Defamation Claim.

                1.    As the voice of WRAG, Ms. Goren and WRAG’s CEO Dr. Henson
                      unequivocally have a common interest.

       Plaintiff’s argument that the allegations in her Complaint and Dr. Mayde Henson’s

Amended Complaint (collectively “the Pleadings”) do not create an inference of a common interest

between Ms. Goren and Dr. Henson is disingenuous. Ironically, Plaintiff accuses Defendants of

“recast[ing]” the Pleadings. Opp’n 25. This simply is not the case.

       Dr. Wright’s Complaint does in fact create an inference of a common interest between Dr.

Henson and Ms. Goren:

       she breached the contract and acted without integrity by telling the then President
       and CEO of the Washington Regional Association of Grantmaker’s (WRAG),
       Dr. Madye Henson . . .

       This lawsuit, filed in the District of Columbia Superior Court, on June 30, 2020,
       bearing case number 2020 CA 002934 B, is against WRAG, Defendant Goren
       (Defendant Goren is WRAG’s Board Chair) and others alleging discrimination
       and retaliation. In the complaint, Dr. Henson, who had no prior relationship with
       Dr. Wright, made clear that during a one on one meeting with Defendant Goren,
       the topic of Dr. Wright’s departure came up.

Compl. 3-4 (emphasis added).

       The month following the parties’ execution of the Severance Agreement, in or

       around early November 2019, Defendant Goren met with Dr. Madye Henson,
       former President and CEO of Washington Regional Association of
       Grantmakers (“WRAG”) in her capacity as WRAG’s Chair of the Board of
       Directors.


Compl. ¶ 35.

       Dr. Henson’s Amended Complaint cements the common interest, establishing the

qualified common interest privilege.

       The leading voice of WRAG is Defendant Nicola O. Goren, the Caucasian
       chairwoman of the Board of Directors. She is also the President and CEO of the


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       Eugene and Agnes E. Meyer Foundation, which claims to be a charitable giving
       organization and one of the largest contributors to the Association.

Henson Amend. Compl. 3, ECF No. 7-3.

       Next, when Dr. Henson discussed Defendant Goren’s firing of Dr. Wright from
       the Meyer Foundation and told her that it had sent shock waves through the
       industry and raised issues of discriminatory conduct, Defendant Goren simply
       said that Dr. Wright was harmful to the Meyer Foundation because she created a
       “negative climate” and therefore she had to go. Dr. Henson saw this statement and
       action by Defendant Goren as being the stereotypical justification for people who
       discriminate in employment decisions based on race: nothing specific, articulable
       or objective.

Henson Amend. Compl. 5 (emphasis added). Plaintiff, who was not present for the alleged

meeting, cannot undermine the purported expressed shared concern Dr. Henson and Ms. Goren

had for how Ms. Goren, the voice of WRAG, was perceived in the philanthropic industry and the

possible negative impact that perception could have on WRAG.

       Moreover, Plaintiff’s argument regarding the qualified privilege assumes a fact that has not

been established in this case or any related case. It is merely an allegation. Plaintiff argues,

“Defendant Goren made her statements in bad faith as she tried to cover up her own racial animus

in firing Dr. Wright and therefore are (sic) not protected by privilege.” Opp’n 25. Plaintiff has

not alleged facts from which the Court could infer racial animus motivated any adverse decisions

that Ms. Goren may have made with respect to Dr. Wright. Even if Plaintiff had evidence of racial

animus, Dr. Wright erroneously conflates Ms. Goren’s perceived state of mind when she

terminated Dr. Wright with Ms. Goren’s purported motives during her alleged conversation with

Dr. Henson in an effort to establish malice.

       In Mattiaccio v. DHA Grp., Inc., the court found that the plaintiff failed to satisfy his burden

of proof for showing the presence of malice when the defendants allegedly uttered defamatory

statements. 87 F. Supp. 3d 169, 185-87 (D.D.C. 2015). Specifically, the court found at most that

the plaintiff’s evidence showed his employer had general ill will towards him, but not that the

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defendants’ primary motivation in publishing the report was malicious. Id. The court went on to

say the plaintiff’s evidence went to the motive for investigating Plaintiff’s background, not to the

motivation for publishing the Preliminary Investigation report or termination letter. Id. As

Mattiaccio demonstrates, Dr. Wright cannot use Ms. Goren’s alleged motives at the time of the

termination to bootstrap Ms. Goren’s mindset during her meetings with Dr. Henson.

               2.      Plaintiff’s Opposition demonstrates that she cannot carry her burden
                       of disproving Ms. Goren’s clearly subjective opinion.

       Even if true, Plaintiff’s contention that she never personally received feedback from Ms.

Goren or her staff that she was toxic, fostered a negative climate, and two-thirds of her staff would

quit if she remained in her position is not sufficient to create an inference that Ms. Goren’s

statements to Dr. Henson were false. Opp’n 19. Plaintiff provides no authority for the proposition

that simply because Dr. Wright did not direct feedback means Ms. Goren could not have

subjectively believed these alleged statements to be true. Plaintiff can neither prove nor disprove

the veracity of these statements because they are Ms. Goren’s opinions. Likewise, it would be

impossible for Plaintiff to prove ex post facto that Ms. Goren’s alleged prediction that two-thirds

of the staff would have quit had she not terminated Plaintiff was untrue.

               3.      The Opposition does not overcome Plaintiff’s failure to plead
                       defamation per se or demonstrate special harm.

       Next, Plaintiff maintains she has a viable defamation claim even though she does not allege

that Ms. Goren published the alleged defamatory statements to anyone other than Dr. Henson, or

Dr. Henson believed the statements, and Plaintiff only generally alleges the statements caused her

harm. In support of her argument, Dr. Wright cites to Nyambal v. Alliedbarton Security Services,

Inc., 344 F. Supp. 3d 183, 192 (D.D.C. 2018). In fact, Nyambal involves statements that were

widely published in a political newspaper, which is significantly different from what Plaintiff

alleges occurred here. To survive the Motion, this Court would need to find that Plaintiff properly

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pled a case of defamatory per se or demonstrated special harm. Plaintiff’s sole reliance on

Nyambal in light of clear case law on this issue is not a coincidence.

       “A statement is defamatory as a matter of law (“defamatory per se”) if it is so likely to

cause degrading injury to the subject’s reputation that proof of that harm is not required to recover

compensation.” Franklin v. Pepco Holdings, Inc. (PHI), 875 F. Supp. 2d 66, 75 (D.D.C. 2012)

(citing Carey v. Piphus, 435 U.S. 247, 262 (1978)). In the absence of a published statement that

is defamatory per se, a plaintiff must allege actual or pecuniary harm. Smith v. Clinton, 253 F.

Supp. 3d 222, 242 (D.D.C. 2017), aff’d, 886 F.3d 122 (D.C. Cir. 2018).

       In the case of Smith v. Clinton, the court found the complaint failed to make a showing of

defamation per se or special harm and granted the defendant’s motion to dismiss. 253 F. Supp.

3d at 242. With regards to defamation per se, the Smith court stated:

       [I]njury to reputation . . . but the alleged instances of defamation in this case do not
       satisfy the legal test for statements that are inherently actionable as a matter of law.
       Plaintiffs maintain in response to the motion to dismiss that the statements are
       actionable per se because they clearly adversely affect plaintiffs’ ability to be
       employed. But that is not clear at all, and plaintiffs’ bald assertion is not sufficient
       to liken Secretary Clinton’s statements to the sorts of utterances that courts consider
       to be defamatory per se. There are no facts alleged that would support an inference
       that the statements by Secretary Clinton, even if they had implied or suggested that
       the plaintiffs had not been truthful about this one very specific, highly personal
       matter, would have any impact on the plaintiffs’ ability to secure or maintain
       employment.

Smith, 253 F. Supp. 3d 222, 242 (internal citations and quotations omitted).

       Smith makes clear that the conclusory statements of harm in Ms. Wright’s Complaint are

inadequate. See Opp’n 25. (“As a result of these defamatory statements, Plaintiff has and will

continue to suffer financial loss and reputational harm into the foreseeable future). Instead of

producing legal support to cure the deficiencies in the Complaint, the Opposition seems to suggest

that because Dr. Wright alleged the statements relate to her occupation that alone is sufficient to

avoid dismissal. As Smith illustrates, it is not. See 253 F. Supp. 3d at 242.

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       The Smith court held the following in concluding the plaintiff had not sufficiently pled

special harm or defamation per se.

       In the absence of a published statement that is defamatory per se, plaintiffs were
       bound to allege actual or pecuniary harm. Again, in opposition to the motion,
       plaintiffs point to a purely conclusory allegation. Pls.’ Opp. to Clinton MTD at
       13 (“As a direct and proximate result of [Secretary] Clinton’s statements,
       [p]laintiffs have suffered pecuniary damage . . . .”), quoting Compl. ¶ 37. But
       plaintiffs must offer more than labels and conclusions to state a claim, see
       Iqbal, 556 U.S. at 668, 129 S.Ct. 1937, quoting Twombly, 550 U.S. at 555, 127
       S.Ct. 1955, and this is insufficient. See Xereas v. Heiss, 933 F. Supp. 2d 1, 19
       (D.D.C. 2013) (holding that the plaintiff in a defamation case “must allege some
       specific harm and the actual pecuniary loss arising from that harm”), citing
       Franklin, 875 F.Supp.2d at 75 (granting a motion to dismiss a defamation claim
       where a plaintiff alleged harm stemming from the “risk [of] having her credit
       suffer,” because the plaintiff did “not say that this harm has actually occurred, or
       that she has sustained any pecuniary loss as a result.”).

Smith, 253 F. Supp. 3d at 242-43(emphasis added). Like the plaintiff in Smith, Dr. Wright’s

conclusory claims of reputational and economical harm are inadequate to withstand dismissal. See

Opp’n 25.

       C.      Plaintiff’s Argument That Ms. Goren was a Party to the Severance
               Agreement is Frivolous.

       As set forth above, the Court can summarily reject Plaintiff’s argument that the Mutual

Non-Disparagement Clause imposed a different obligation on the Foundation than is plainly stated

in its terms under well-settled contract law. See supra at 5. For that reason, Plaintiff’s attempt to

rewrite the Severance Agreement to convince this Court that Dr. Wright and both the Foundation

and Ms. Goren were the intended contractual parties fails. Other than signing the document as

CEO of the Foundation, because as Plaintiff correctly recognizes, the Foundation is inanimate,

Plaintiff does not point to any provision in the agreement that makes Ms. Goren a party to the

agreement. See Opp’n 29.

       Instead, Plaintiff tries to discredit Defendants’ argument on this issue by arguing Jones v.

Quintana, 872 F. Supp. 2d 279 (D.D.C. 2012), is inapposite. Not only is Jones instructive, but

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countless cases would hold the unambiguous words of the agreement are fatal to Dr. Wright’s

position that Ms. Goren was a contractual party. These cases include Guttenberg v. Emery, 41 F.

Supp. 3d 61 (D.D.C. 2014) and Charlton v. Mond, 987 A.2d 436 (D.C. 2010) which Defendants

cited in their Motion and Plaintiff selectively does not challenge. ; See also Minebea Co. v. Papst,

444 F. Supp. 2d 68, 183 (D.D.C. 2006)(finding Plaintiff did not have a breach of contact claim

against non-contractual party defendant and stating “[t]he mere fact that Papst Licensing has what

Minebea wants does not give Minebea a claim against Papst.”) dismissed, 224 F. App’x 962 (Fed.

Cir. 2007); Parks v. Fed. Home Loan Bank of San Francisco, No. CV 19-883 (JEB), 2020 WL

417795, at *4 (D.D.C. Jan. 27, 2020)(rejecting the plaintiff’s argument that the general counsel

had accepted the contract proposal binding the directors to the contract where the complaint alleged

no facts to support that conclusion).

       As Unfoldment, Inc. v. District of Columbia Contract Appeals Bd. Instructs, this Court

should reject Plaintiff’s meritless attempt to rewrite the unambiguous Severance Agreement. 909

A.2d 204, 209 (D.C. 2006) (“A court must honor the intentions of the parties as reflected in the

settled usage of the terms they accepted in the contract . . . and will not torture words to import

ambiguity where the ordinary meaning leaves no room for ambiguity).” Ms. Goren is a non-party

and cannot be liable for allegedly breaching its terms.

III.   CONCLUSION

       For the reasons set forth above, and stated in the Memorandum in Support of the Motion

to Dismiss the Complaint, Defendants Eugene & Agnes E. Meyer Foundation and Nicola Goren

respectfully request that the Court dismiss Plaintiff’s Complaint in its entirety with prejudice.

Dated: October 6, 2020                               Respectfully submitted,

                                                      /s/ Patricia Donkor
                                                     Alison N. Davis (Bar No. 429700)


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                               CERTIFICATE OF SERVICE

       I certify that on this 6th day of October 2020, a true and correct copy of the foregoing

document was filed with the Clerk of Court via the CM/ECF system, which caused a copy of the

same to be served upon:

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                              /s/ Patricia B. Donkor
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